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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                         :
 UNITED STATES OF AMERICA,                                               :
                                                                         :   Case No. 19 Cr. 366 (LGS)
            - against -                                                  :
                                                                         :
 STEPHEN M. CALK,                                                        :
                                                                         :
                                Defendant.                               :
                                                                         :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




                   CONSOLIDATED REPLY MEMORANDUM IN SUPPORT OF
                  DEFENDANT STEPHEN M. CALK’S PRETRIAL MOTIONS AND
                             MOTION TO TRANSFER VENUE




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                    Defendant Stephen M. Calk respectfully submits this consolidated reply

memorandum in further support of his pretrial motions and motion to transfer venue, filed

November 8, 2019. 1

                                    PRELIMINARY STATEMENT

                    In its Opposition, the government acknowledges that the two loans TFSB made to

Paul Manafort were secured by sufficient collateral, and claims that the Fisher Affidavit “never

contended or suggested that the loans were simply sham loans offering no value to the Bank in

exchange for the risk.” (Gov’t Br. at 17). 2 These are remarkable concessions given the

impression the government has sought to convey in its lengthy speaking indictment and press

release – namely, that Mr. Calk caused TFSB to make high-risk loans, harmful to the bank, and

resulting in millions of dollars of losses, in an effort to obtain a personal benefit from Manafort.

Now the government has pivoted, arguing that Mr. Calk’s conduct would be criminal “even were

the loans entirely sound and advantageous.” (Id. at 16). It does so in an effort to minimize the

import of its omissions from the Fisher Affidavit, but in the process calls into question its

charging theory and decision to pursue this case.

                    The government claims that the terms of the loans were “simply not material

information” that it was required to present to Magistrate Judge Rowland. (Id.). That is clearly



1
 The government’s Opposition, filed December 6, 2019 (Docket No. 38), addressed both our
pretrial motions (Docket No. 37) and our motion to transfer venue (Docket No. 34). For the
Court’s convenience, we have consolidated our response to the Opposition in this single reply
brief.
2
 Citations to “Gov’t Br.” refer to the government’s memorandum in opposition to defendant’s
pretrial motions, Docket No. 38. Citations to “Def. Br.” refer to the defendant’s memorandum in
support of his pretrial motions, Docket No. 37. Citations to “Schoeman Decl.” refer to the
declaration of Paul H. Schoeman, Esq., submitted with defendant’s pretrial motions and currently
under seal pending resolution of certain redactions, see Docket No. 35. Citations to “Fisher
Aff.” refer to the affidavit of Special Agent Carrie E. Fisher, Schoeman Decl. Ex. A.


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wrong. Even the government, in the course of trying to articulate why the loan terms were not

important to its application, concedes that the terms were relevant to proving motive and intent,

which was at the heart of the probable cause determination. If TFSB had granted to Manafort

no-interest loans without security, the government would surely be arguing that this was highly

relevant, material evidence that Mr. Calk caused TFSB to make the loans for improper reasons.

The converse must also be true – evidence that the loan terms were sound and in the bank’s

interest is a strong indication that there was a perfectly legitimate and lawful explanation for the

extension of the loans to Manafort. A Franks hearing is necessary to determine why the

government chose to leave out of its affidavit this critical information, along with an abundance

of other material facts undermining its theory of probable cause.

                    Similarly, the government cannot explain away its failure to alert Magistrate

Judge Rowland of the numerous exculpatory statements it obtained from TFSB witnesses.

Statements by the bank’s president and chief operating officer (neither of whom have been

charged with wrongdoing), among others, directly contradicting the claims in the affidavit, were

highly relevant and material to the probable cause determination. It was for Magistrate Judge

Rowland, not the government, to decide what weight to give them. The excuses the government

offers with respect to this, and other, omitted evidence, are based on unsworn, unsupported, and

untested factual assertions, further underscoring the need for a Franks hearing.

                    The government’s Opposition also fails to adequately address the issues raised by

the defense motion to review the grand jury transcripts. It applies the wrong legal standard, tries

to minimize the import of the information it left out of its grand jury presentation, and does not

convincingly explain how it could have in good faith presented testimony by Manafort – at the




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time a cooperating witness – to another grand jury that contradicted the theory it presented to the

grand jury in this District.

                    In opposing the defense’s motion for production of the government’s discovery

correspondence with the Office of the Comptroller of the Currency (“OCC”) and Presidential

Transition Team (“PTT”), the government argues for an unduly narrow interpretation of Rule 16,

seeking to deny the defense access to documents that would clearly help us to understand the

meaning of what has been produced and identify relevant, admissible documents that were

withheld by the government and remain in the possession of the OCC and PTT.

                    Finally, the government’s Opposition to our venue transfer motion argues for a

more onerous standard than Rule 21(b) and Platt require, in effect claiming that the Court must

deny the motion unless the defense can show prejudice were the trial to be held in this District.

That is not the standard. Rather, the rule and the cases interpreting it focus on convenience,

including convenience to the alleged victim – here, TFSB – a factor that the government ignores.

Significantly, TFSB, a regional bank based in Chicago, also happens to employ many of the key

witnesses. This is the unusual case in which all of the Platt factors are either neutral or weigh in

favor of transfer. Accordingly, we respectfully submit that the Court should exercise its

discretion and transfer this case to the Northern District of Illinois, the far more logical,

convenient, and economical venue.

                                             ARGUMENT

I.          The iPhone Evidence Should Be Suppressed

            A.      The Government’s Omissions were Material to the Probable Cause Determination

                    1.     Loan Terms

                    In our opening memorandum, we described critical evidence, known to the

government at the time it presented the Fisher Affidavit, that it chose to omit. Among these were

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the terms of the two Manafort loans – including the fact that the loans were secured by property

and cash significantly in excess of the loan amounts, carried a substantial interest rate of 7.25%,

and required payment up front to the bank of three “points” on the first loan and two “points” on

the second loan (i.e., 3% and 2% of the loan amount). This was basic information about the

loans, self-evidently relevant, and there was no reason to keep it out of the Fisher Affidavit, other

than because it undermined the government’s case that there was probable cause that Mr. Calk

had committed a crime.

                    In its Opposition, the government struggles to explain why it omitted this

information. First, it says that the loans terms were not material information “because the quality

of the loans is not an element of an honest services fraud offense.” (Gov’t Br. at 16). But

whether or not the soundness of the loan terms is itself an “element” of the offense, 3 the terms

clearly are relevant and material to the question of whether Mr. Calk intended to defraud TFSB.

Among other things, they explain why Mr. Calk, along with the other members of the loan

committee, would have approved making the loans: they believed the loans were in the bank’s

interest. Indeed, the government itself concedes the relevance of the loan terms, arguing

elsewhere in its brief that “the risky qualities of the loans may shed light on Calk’s motive and

intent in approving them,” (id. at 16), and that the loan quality was relevant “as shedding light on




3
  The cases the government cites in support of this proposition all involved bribery of public
officials. (Gov’t Br. at 16). It is not at all clear that a private-sector employee commits
honest-services wire fraud (which requires a breach of the duty of loyalty, see United States v.
Rybicki, 354 F.3d 124, 141-42 (2d Cir. 2003)), if he or she engages in a quid pro quo that also
benefits his or her employer. See id; United States v. deVegter, 198 F.3d 1324, 1328-29 (11th
Cir. 1999); United States v. Jain, 93 F.3d 436, 442 (8th Cir. 1996). Notably, the government
ultimately declined to charge Mr. Calk with honest-services wire fraud (or any of the eight other
Subject Offenses described in the Fisher Affidavit), instead resorting to a rarely used statute, 18
U.S.C. § 215.


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Calk’s motive and intent in showing his willingness to extend the loans despite the risks,” (id. at

17). Essentially, the government is arguing that evidence it believes demonstrates the riskiness

of the loans is material, but evidence undermining this claim (including the fact that the bank

was protected in the event of default by a security interest in collateral worth more than the loans

themselves) is not. This is an entirely disingenuous position, which should be the subject of

further scrutiny at a Franks hearing. 4

                     As a fallback, the government seeks to rely on the OCC’s downgrade of the loans,

which was done not only long after the loans were made but also subsequent to the issuance and

execution of the warrant. The government argues that the OCC’s after-the-fact determination

establishes that “the omissions were therefore not material in a manner that necessitates a Franks

hearing, because the ‘hypothetical corrected affidavit’ with the omitted information ‘still

established probable cause.’” (Id. at 18) (citations omitted). This is incorrect. First, the OCC’s

analysis could not have been considered by the magistrate, as it came in July 2017, after the

execution of the search warrant. Separately, the government’s description of the OCC’s analysis

is inaccurate. The OCC did not find that the collateral was inadequate or the interest rate was

unduly low. In fact, for both loans it found that the collateral coverage was satisfactory and that

the loans were “current and paying as agreed.” The criticism leveled by the OCC with regard to

five of the bank’s loan relationships (of which Manafort was only one, the four others having

nothing to do with this case), was that the underwriting department did not accurately assess cash




4
  Bizarrely, the government claims that, “by not bringing up any deficiency with the collateral,
the affidavit effectively did disclose that the loans were not undercollateralized – an inadequacy
in the collateral would be so patently improper that one would expect it to be mentioned if it
existed.” (Id. at 16-17). Thus, as the government would have it, lack of adequate collateral
would have been highly relevant and a fact worthy of inclusion in the affidavit, but TFSB’s
decision to require substantial collateral was irrelevant, immaterial, and beside the point.

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flow from tax returns. In other words, the OCC found that TFSB had used a flawed

methodology in calculating the cash flow of multiple loan recipients. Given that the

methodology was developed by TFSB’s underwriting department and used for clients other than

Manafort, the OCC’s finding has no probative value with regard to Mr. Calk’s intent.

                     2.     James Brennan

                     The government argues that its omissions relating to James Brennan – the TFSB

underwriter in charge of analyzing the Manafort loans – were not material. But in its affidavit,

the government relied on Brennan’s purported statement to TFSB sales assistant Anna Ivakhnik

(as she related it to the FBI), that “the proposed Manafort loan was a bad loan.” (Fisher Aff. at ¶

35(a) (Schoeman Decl. Ex. A)). According to the affidavit, Brennan expressed this to Ivakhnik

“on several occasions.” (Id.). The government further relied on Ivakhnik’s claim that Brennan

told her “to put any communications related to the Manafort loan into emails because this matter

would be ‘investigated by the FBI’” – an assertion that the government describes in its

Opposition as highly probative of Mr. Calk’s “state of mind.” (Gov’t Br. at 20).

                     Having decided to rely on this information in the Fisher Affidavit, the government

was obliged to advise Magistrate Judge Rowland of information that directly undermined it. Yet

the government chose not to advise the magistrate that Brennan oversaw and approved loan

memoranda contradicting what Ivakhnik claims Brennan told her. 5 The loan memoranda

recommended that, despite certain stated risks, an “average” (or 4) risk rating was appropriate


5
  The government says that Brennan only signed one of the memoranda for the two loans.
(Gov’t Br. at 15, 18, 20). But, as is evident on the face of the documents, he signed both,
although his name was printed only on the memorandum concerning the second Manafort loan.
(See TFSB Credit Approval Form and Loan Memorandum (November 11, 2016) (“Credit
Approval Form and Loan Memorandum”) (Schoeman Decl. Ex. C); TFSB Loan Memorandum
(January 5, 2017) (“Loan Memorandum”) (Schoeman Decl. Ex. D)). The latter memorandum
further indicates that it was “prepared by” Brennan, the first memorandum having been prepared
under Brennan’s supervision by his subordinate, Thomas Horn. (Id.).

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given, among other things, the amount of collateral posted (resulting in a low loan-to-value, or

“LTV,” ratio). (See Credit Approval Form and Loan Memorandum at 3, 10 (Schoeman Decl.

Ex. C)). 6 This omission was compounded when the government learned from Brennan directly

the day prior to execution of the warrant, (infra at 14), that he did not believe there was anything

unusual regarding the very loan Ivakhnik claimed he said was “bad.” (See Letter from Southern

District of New York to Daniel L. Stein (July 1, 2019) (“July 2019 Disclosure Letter”) at 3

(Schoeman Decl. Ex. H)).

                     The omission was rendered even more egregious by the government’s failure to

advise Magistrate Judge Rowland of the context in which Brennan purportedly made the

statement to Ivakhnik that he thought “this matter” would be “investigated by the FBI.”

According to Ivakhnik, Brennan made the statement to her at the end of August 2016. As the

government was aware, on August 14, 2016, The New York Times reported that there was a

government investigation of transactions in the Ukraine involving Manafort. (Andrew E.

Kramer, et al., Secret Ledger in Ukraine Lists Cash for Donald Trump’s Campaign Chief, The

New York Times (Aug. 14, 2016), https://www.nytimes.com/2016/08/15/us/politics/paul-

manafort-ukraine-donald-trump.html). Five days later, The New York Times reported that

Manafort had resigned from the Trump Campaign, attributing his resignation in part to “a wave




6
  As with the OCC analysis, the government points to developments following the execution of
the warrant – here Brennan’s immunized testimony in Manafort’s trial – as casting doubt on the
materiality of its omissions. But testimony at a trial more than two years after execution of the
warrant is irrelevant to the Franks analysis. And, again, the government leaves out critical
information undermining its argument. On cross-examination (which is not cited in the
government’s Opposition), Brennan conceded that no one on the loan committee (which
included Mr. Calk) ever told him to give the loans a 4 rating. (United States v. Paul J. Manafort,
Jr., No. 18-Cr-0083 (TSE) (E.D. Va. Aug. 13, 2018), ECF No. 282 at Tr. 2252:1-16). And he
was unable to answer the question of whether anyone on the loan committee had ever told him
that the bank had to make the loan, claiming lack of memory. (Id.).

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of reports about Mr. Manafort’s own business dealings with Russia-aligned leaders in Ukraine.”

(Maggie Haberman, et al., Paul Manafort Quits Donald Trump’s Campaign After a Tumultuous

Run, The New York Times (Aug. 19, 2016), https://www.nytimes.com/2016/08/20/us/politics/pa

ul-manafort-resigns-donald-trump.html). None of this important context – which strongly

suggests that Brennan’s purported reference to an FBI investigation related to Manafort’s

dealings in Ukraine – was mentioned in the Fisher Affidavit (or in the government’s Opposition,

where, as noted, it describes the statement as probative of Mr. Calk’s state of mind). Instead, the

affidavit misleadingly suggested that Brennan was implying to Ivakhnik that Mr. Calk would be

investigated for a corrupt quid pro quo relating to the Manafort loans.

                     3.     Jeffrey Yohai

                     While the government now seeks to minimize the importance of the statement

attributed to Jeffrey Yohai in the Fisher Affidavit, it was the only statement in the affidavit that

directly alleged that there had been a quid pro quo. According to the affidavit, Yohai told

Genesis executive Mitch Solow that, “TFSB had agreed to do the refinance because Manafort

promised Calk a position on the Trump Economic Advisory Council.” (Fisher Aff. at ¶ 26

(Schoeman Decl. Ex. A)). The government cited the statement immediately after setting forth a

narrative that linked Mr. Calk’s appointment to the Advisory Council and TFSB’s decision to

conditionally approve a loan to Manafort. Yohai’s statement was thus a significant piece of

evidence that the government relied on in obtaining the warrant, and it should have disclosed

Yohai’s statement to the FBI ten days earlier contradicting what he purportedly told Solow.

                     The government argues that Yohai’s statements to the FBI that he “was not aware

of any promises made by Calk to Manafort in exchange for the cabinet position” and “did not

know if Manafort ever actually asked Calk for any favors,” indicate that he had no basis to know

whether there was actually a quid pro quo relationship. (Gov’t Br. at 20-21). The government

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says this ostensibly in support of its claim that Yohai’s statements were immaterial, but in fact

this point underscores the very reason the statements should have been brought to the attention of

Magistrate Judge Rowland. If Yohai truly had no basis on which to opine whether there had

been a quid pro quo, it was improper for the government to suggest otherwise, as it did in the

Fisher Affidavit by citing his purported statement to Solow.

                     Finally, the government says that the investigative team drafting the Fisher

Affidavit did not attend the Yohai interview, “did not have access at the time to the Form 302

written report of the statements, and were not aware at the time that Yohai had made the

statements that Calk complains were omitted from the warrant affidavit.” (Gov’t Br. at 8). At

the same time, the government acknowledges that the investigative team “was aware the [Yohai]

interview had taken place and of some of the statements Yohai had made on other matters.”

(Id.). The government thus suggests that its omissions regarding Yohai were merely negligent

and not in bad faith. But its excuses are unsworn (not even supported by an affidavit or

declaration), untested, and must be explored at a hearing. Moreover, the government’s excuses

raise more questions than they answer. For example, how could the investigative team not have

had access to the Form 302 (an FBI form) containing Yohai’s statements, if Special Agent Fisher

was a member of the FBI, as were other agents working on the investigative team? Why didn’t

the FBI team investigating Yohai in California advise its counterparts in New York and Chicago

of Yohai’s exculpatory statements, given that they advised them of other information provided

by Yohai? The government relied on statements attributed to Yohai to obtain the warrant. It

cannot now pretend that the information was unimportant or skirt the issue by suggesting the

omission was a mere oversight. At the very least, any such claim must be tested at a hearing.




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                     4.     Knowledge of Defaults

                     In our opening memorandum we noted the paucity of evidence cited in the Fisher

Affidavit to establish probable cause that Mr. Calk conspired with Manafort to hide material

information about the loans from the TFSB loan committee and board. (See Def. Br. at 9-10, 23-

24). After securing the warrant, the government itself jettisoned this theory, declining to charge

Mr. Calk with any of the Subject Offenses described in the Fisher Affidavit, or any other

offenses based on the theory that he hid information from the bank. In its Opposition, the

government confirms that the only evidence supporting this allegation was that “Manafort had

submitted an array of wildly varying income figures” and that the loan memoranda did not

reference prior defaults and a foreclosure action. (Gov’t Br. at 23). The government presented

no evidence that Mr. Calk – the bank’s CEO and Chairman – was aware of the varying income

figures submitted to TFSB staff, or that he had supervised, directed, drafted, edited, or even

reviewed the loan memoranda. And it omitted from the affidavit evidence in its possession

establishing that (i) the other members of the loan committee were aware of Manafort’s default

on his California property (2401 Nottingham Avenue), and (ii) TFSB underwriters Brennan and

Horn were responsible for the content of the loan memoranda. (See Email Chain re Payoff

letters (September 14, 2016) (Schoeman Decl. Exs. E, F); Credit Approval Form and Loan

Memorandum (Schoeman Decl. Ex. C); Loan Memorandum (Schoeman Decl. Ex. D)).

                     With regard to the loan memoranda, the government claims that “[w]hether other

loan committee members were advised of the default on the California loan is not material to

whether there is probable cause to suspect fraud or false statement offenses.” (Gov’t Br. at 23).

But the Fisher Affidavit alleged that the loan memoranda were evidence of fraud because they

“did not mention the 2401 Nottingham Avenue default [i.e., the California loan] or the

Foreclosure Action against Manafort personally.” (Fisher Aff. ¶¶ 51, 69 (Schoeman Decl. Ex.

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A)) (emphasis added). Again, the government cannot have it both ways. It alleged that there

was probable cause to suspect fraud on the ground that the loan memoranda did not mention the

California default, while in possession of information establishing that the two other members

from whom Mr. Calk allegedly hid this information (as well as other TFSB executives, including

Brennan) were fully aware of it. We are entitled to a hearing to establish whether the

government knowingly or recklessly left this information out of the affidavit. 7

            B.       The Government Had an Obligation to Return to Judge Rowland After it
                     Acquired Additional Exculpatory Information

                     The government’s omissions from the Fisher Affidavit are enough to require a

Franks hearing. But, on top of this, prior to executing the warrant, the government learned of a

substantial body of additional information – from the very witnesses involved in processing and

approving the Manafort loans – contradicting the probable cause theory set forth in the Fisher

Affidavit. It is extraordinary and indefensible that the government did not alert Magistrate Judge

Rowland of this new information prior to executing the warrant.

                     The government tries to minimize the import of the interviews it conducted on

June 27, 2017, claiming that the statements from TFSB executives were “the sort of self-serving

denials of wrongdoing that did not require revising the warrant.” (Gov’t Br. at 27). This is not

an accurate characterization of the information it obtained. The government interviewed at least

six TFSB executives – including TFSB’s president (Mr. Ubarri), chief operating officer (Mr.

Norini), two senior vice presidents directly involved in the Manafort loans (Mr. Raico and Ms.

Bartholomew), and the lead TFSB underwriters in the transactions (Mr. Brennan and Mr. Horn).


7
  With regard to the Foreclosure Action, the government cited no evidence that Mr. Calk was
aware of it, much less directed Brennan or Horn to keep it out of the loan memoranda. Likewise,
there is no evidence in the affidavit indicating that Mr. Calk concealed the California default or
the Foreclosure Action from the TFSB board or BofI, the other lender the government alleged
was defrauded.

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In the three and a half years since the interviews, none of the individuals has been charged with

conspiring with Mr. Calk, or, for that matter, lying to the FBI.

                     The witness statements the government received on June 27 were not at all akin to

the statements at issue in the cases cited in the government’s Opposition. In United States v.

Marin-Buitrago, the court found that the government was not required to advise the magistrate of

the denial by the target of the government’s drug investigation that he was the individual the

government believed him to be. The court’s decision rested on its findings that (i) “[n]arcotics

traffickers commonly use aliases and carry false identification,” (ii) the individual at issue was

“known to use aliases,” and (iii) the physical differences between the target and the individual

the government believed him to be “were too slight to be material.” United States v. Marin-

Buitrago, 734 F.2d 889, 895-96 (2d Cir. 1984). Here, the government received exculpatory

information from at least six different witnesses, none of whom was the target of the

investigation, and there were no circumstances, as in Marin-Buitrago, seriously undermining the

credibility or import of their statements. In fact, this is a case where the government has done

precisely what the Second Circuit in Marin-Buitrago cautioned that it must not do, namely, to

arrogate to itself the power to decide what weight to give newly obtained information. 8 See

Marin-Buitrago, 734 F.2d at 894 (“when a definite and material change has occurred in the facts




8
  The other decision the government cites is a non-precedential summary order from the Ninth
Circuit, United States v. One Residential Prop., 312 F. App’x 8 (9th Cir. 2008). In that case, a
witness alleged that Harris, a convicted felon with a history of violence, had stolen her gun and
beaten her with it. After the police obtained the warrant, but before they executed it, Harris told
the police that he no longer had the weapon. The court held that Harris’ “self-serving statement”
was immaterial, with no further explanation. The case is of no help to the government here,
given that it involved a single denial by the very target of the investigation, rather than numerous
exculpatory statements by six witnesses. (See Def. Br. at 12-14).

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underlying a magistrate’s determination of probable cause, it is the magistrate, not the executing

officers, who must determine whether probable cause still exists”).

                     In a further effort to explain away the exculpatory statements from six different

witnesses, the government claims that the statements “largely concerned issues collateral to the

core evidence of a quid pro quo or false information.” (Gov’t Br. at 27). This, too, is belied by

the record. The government of course interviewed these executives because it believed they had

information that was material to its investigation. In fact, they were all directly involved in

either originating, underwriting, or approving the Manafort loans. The government relied in the

Fisher Affidavit on the emails or statements of three of the witnesses – Brennan, Raico, and

Ubarri. (See Fisher Aff. at ¶¶ 22-23, 30, 34-36, 39, 41-42, 52, 56, 58-59, 61, 64 (Schoeman

Decl. Ex. A)). And the substance of the June 27 statements was hardly “collateral.” For

example, the very first bullet point in the government’s list of “suspicious facts” that it contends

supported a probable cause finding is that “Calk and the loan committee conditionally approved

the California refinance with an unusually fast one-day turnaround.” (Gov’t Br. at 8). But

Ubarri told the government on June 27 that “[i]t was not unusually fast or otherwise remarkable .

. . that the proposed 2401 Nottingham loan [i.e., the California refinance] was conditionally

approved by the credit committee within one day or so of the initial meeting with the client.”

(July 2019 Disclosure Letter at 8 (Schoeman Decl. Ex. H)). Ubarri’s statement thus directly

contradicted the evidence relied on by the government in the affidavit, and made clear that the

“approval” of the loan was conditioned upon satisfactory underwriting – a process that would

take weeks to complete.

                     Similarly, the government relied on emails in its affidavit that it describes as

“reflect[ing] Calk personally being involved in the progress of the loans to Manafort, and Bank



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employees describing Calk as seeking to close the loans expeditiously.” (Gov’t Br. at 9). But

Norini, TFSB’s chief operating officer at the time, told the government that “TFSB’s claim to

fame was that they could turn around a loan in days,” and that he “did not recall a rush to

complete the Manafort loans.” (July 2019 Disclosure Letter at 6 (Schoeman Decl. Ex. H)).

Bartholomew stated that she “did not find anything about the Manafort loans or their processing

to be unusual,” and that she “felt no pressure to close on the loans or push them through outside

of normal protocols.” (Id. at 2). Brennan advised the government that “[w]hether a loan was

approved slowly or quickly was not an indication of anything in particular” and that he had

“observed other deals close in as quickly as two days.” (Id. at 3). Horn, who worked for

Brennan, stated “Calk was normally very hands-on” and that he “did not feel pressure to get the

Summerbreeze loan done.” (Id. at 4).

                     It is remarkable that the government did not bring any of this information (or the

information described in further detail at pages 12-14 of our opening brief) to the attention of

Magistrate Judge Rowland prior to searching Mr. Calk’s iPhone. In an effort to avoid a Franks

hearing, the government claims that, “even were these statements material, any showing of intent

is wholly absent.” (Gov’t Br. at 30). As with Yohai’s statements, it suggests that its failure to

return to the magistrate was merely negligent, arguing that the statements came in the context of

a “coordinated and multistate effort to interview a number of witnesses, and an unanticipated

one-day delay in the execution of the warrant,” and “required law enforcement to synthesize and

analyze them overnight before executing the warrant the next day.” 9 (Gov’t Br. at 30-31). These



9
  There was no exigency with respect to this search. On June 27, 2017, the government
contacted Mr. Calk’s attorney, who, after being advised that the government had obtained a
warrant, agreed to surrender the iPhone to the government the following day. After securing the
phone, the government could have returned to Magistrate Judge Rowland at any time, rather than
immediately searching the phone, as it did.

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unsworn assertions underscore the need for a Franks hearing, where the government personnel

involved in interviewing the witnesses, submitting the affidavit, and executing the warrant can be

heard under oath and examined by the Court and the defense.

                     To support its claim that it did not intentionally or recklessly decline to

supplement its affidavit, the government cites United States v. Rajaratnam, 719 F.3d 139 (2d

Cir. 2013). (Gov’t Br. at 31). But in Rajaratnam the district court in fact held a Franks hearing

before concluding that the government’s omissions were not in bad faith. The court heard

directly from the AUSA and the FBI agent involved, who gave sworn testimony that the

omissions were not intentional. Rajaratnam thus undermines the government’s position here and

provides further reason to hold a Franks hearing. See United States v. Rajaratnam, No. 09-Cr-

1184 (LAP) (S.D.N.Y. October 7, 2010). The same is true of the other case cited by the

government, United States v. Vilar, No. S305-Cr-621 (KMK), 2007 WL 1075041 (S.D.N.Y. Apr.

4, 2007), where the court, prior to deciding the defendant’s suppression motion, also held a

hearing and heard testimony from the affiant for the government’s warrant application.

II.         The Record Indicates That The Government May Have Misled The Grand Jury,
            And It Therefore Must Produce The Grand Jury Transcripts

                     The government constructs a strawman in responding to the defense motion to

review (or for the Court to review in camera) the grand jury transcripts, arguing essentially that

the defense has failed to adduce enough proof to justify dismissing the indictment. In order to

review the transcripts, however, the defense is simply required to show, pursuant to Fed. R.

Crim. P. 6(e)(3)(E)(ii), that a ground “may” exist to dismiss the indictment. We respectfully

submit that this is a standard we have met, given the misleading manner in which the

government presented its evidence to Magistrate Judge Rowland, the abundant additional

exculpatory evidence it identified during the months leading up to indictment, and its


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presentation to a separate grand jury of testimony from Manafort contradicting its claims here. 10

We cannot know more or meet the standard for dismissal, of course, without the grand jury

transcripts. The government fails to identify any prejudice it would suffer by providing the

transcripts to the Court.

                     As discussed above, the evidence that the government failed to present to

Magistrate Judge Rowland was, contrary to the government’s claims, highly relevant and

material to whether Mr. Calk had committed a crime. If it did not present this same information

to the grand jury – including the loan terms – it misleadingly suggested that there was no

appropriate financial reason for TFSB to make the loans and left the grand jury to conclude that

Mr. Calk had “corruptly” solicited or accepted something of value from Manafort, as 18 U.S.C. §

215 requires.

                     The government also fails to address at all the additional information it obtained

from TFSB president Ubarri during proffer sessions in November 2017 and November 2018,

disclosed to the defense in its July 1, 2019 letter. (Def. Br. at 12-14; July 2019 Disclosure Letter

at 8, 10-11 (Schoeman Decl. Ex. H)). While it now dismisses as immaterial Jared Kushner’s

statements making clear how little value Manafort’s recommendation had to the Trump

Transition Team, (Gov’t Br. at 34), in the indictment it presented to the grand jury the




10
   The government argues that failure to disclose exculpatory evidence cannot be a ground for
dismissal, citing United States v. Williams, 504 U.S. 36 (1992). But, after Williams, the Second
Circuit has continued to recognize that an indictment may be dismissed (even after conviction)
where the prosecutor’s conduct amounts to “a knowing or reckless misleading of the grand jury
as to an essential fact.” United States v. Lombardozzi, 491 F.3d 61, 79 (2d Cir. 2007) (internal
quotation marks and citations omitted). In Morse v. Fusto, which the government does not
address, the Second Circuit held that “[i]nformation may be ‘false’ if material omissions render
an otherwise true statement false,” and that a defendant has a constitutional right not to be
deprived of his liberty where the government has knowingly made such omissions before a grand
jury. 804 F.3d 538, 547-48 (2d Cir. 2015).

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government in fact relied on and referenced Manafort’s recommendation to Kushner, (Ind., ¶

24(c)).

                     The government’s efforts to minimize the import of Manafort’s post-conviction

statements to the FBI and testimony before the grand jury in the Eastern District of Virginia are

similarly not persuasive. Based on the government’s disclosure regarding Manafort’s September

2018 proffer session, Manafort “denied engaging in a quid pro quo with Calk;” the disclosure

does not note any equivocation on that point. (See Letter from Southern District of New York to

Daniel L. Stein (June 10, 2019) (“June 2019 Disclosure Letter”) at 2 (Schoeman Decl. Ex. I)).

The government agreed to enter into a cooperation agreement with Manafort on September 14,

2018. (See United States v. Paul J. Manafort, Jr., No. 17-Cr-201 (ABJ) (D.D.C. Sept. 14, 2019),

ECF No. 422). During a proffer session on October 5, 2018, Manafort stated he recommended

Mr. Calk for a position “because he had worked hard for the Campaign” and “showed his ability

and experience in building his bank,” further explaining that he “did not recommend Calk for

any reason of Manafort’s personal interest.” (June 2019 Disclosure Letter at 3 (Schoeman Decl.

Ex. I)). Significantly, just eleven days later, having proffered Manafort at least three times, the

government called him as a witness before the grand jury in Virginia. The government would

not have done so if it believed Manafort, at that time a cooperating witness, was lying. And the

testimony Manafort gave was consistent with what he told the government while it was vetting

him as a witness: He testified that he recommended Mr. Calk because he had earned it based on

his resume and the work he had done on the Trump campaign. (Id. at 9). Having presented

Manafort to the Virginia grand jury knowing this to be his testimony, it would have been

improper for the government to suggest to a grand jury in this District that Manafort promised or




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provided assistance to Mr. Calk in exchange for loans. 11 We are entitled to learn whether the

government in fact did so.

III.        The Narrow Category of Discovery At Issue Is Material To Preparing The Defense
            And Its Disclosure Would Not Burden The Government Or Violate A Privilege

                     The government mischaracterizes our discovery motion, which seeks a very

limited category of material. We are not seeking “wholesale discovery of the government’s

investigatory correspondence with third parties.” (Gov’t Br. at 36, 37). Nor are we seeking the

work product of cooperating parties’ internal investigations, which was the issue in United States

v. Rigas, 258 F. Supp. 2d 299, 306 (S.D.N.Y. 2003), and in the portion of United States v. Stein,

488 F. Supp. 2d 350, 357 (S.D.N.Y. 2007), on which the government relies. (Gov’t Br. at 38-

40). On the contrary, we seek only the discovery-related correspondence with two critical parties

– the PTT and the OCC.

                     The government’s Opposition suggests that the materials the defense seeks, which

include production cover letters, are closely guarded secrets. But the materials that the

government produced from the files of the Special Counsel’s Office (“SCO”) contain over 150

production letters from producing parties. Had the SCO, rather than the U.S. Attorney’s office,

been the party that subpoenaed the OCC and PTT documents at issue here, we are confident that

the letters would have been produced in the normal course. The production also contains copies


11
   In its Opposition, the government notes that subsequently Manafort breached his cooperation
agreement by providing false information to the Special Counsel’s Office. (Gov’t Br. at 35).
But it does not say he lied about the Calk matter. A review of the partially redacted filings in the
D.C. district court where Manafort was sentenced (including those as late as February 2019, just
three months before this case was presented to the grand jury) suggests that the government
never alleged that Manafort had lied about his dealings with Mr. Calk (and the Court never found
that he had), an allegation that the government surely would have pressed if it believed
Manafort’s testimony to have been false. (See United States v. Paul J. Manafort, Jr., No. 17-Cr-
201 (ABJ) (D.D.C. Jan. 15, 2019), ECF No. 476; United States v. Paul J. Manafort, Jr., No. 17-
Cr-201 (ABJ) (D.D.C. Feb. 13, 2019), ECF No. 509; United States v. Paul J. Manafort, Jr., No.
17-Cr-201 (ABJ) (D.D.C. Feb. 15, 2019), ECF No. 514).

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of at least two grand jury subpoenas issued by the U.S. Attorney’s Office to other third parties.

The fact of these disclosures shows the absurdity of the government’s position, particularly its

suggestion that such documents are shielded from production as “work product.” (Gov’t Br. at

38-39 n. 25). The government clearly does not believe that correspondence from third parties

accompanying the production of documents is protected work product, having produced over one

hundred and fifty letters falling into this category. 12

                     The government pretends that it is “unaware precisely what problems” the

defense has in understanding the OCC and PTT productions. The problems are identified in our

opening brief. (Def. Br. at 17-18). For the PTT, the problems include spreadsheets that are 99%

redacted and therefore meaningless, the absence of relevant emails, and an inscrutable and

incomplete privilege log. For the OCC, the issue is that the 173 documents, which include

emails stripped of attachments, are clearly a subset of much more voluminous records

maintained by TFSB’s primary regulator. The most logical and efficient place to find an

explanation of what these documents represent are the subpoenas calling for their production and

the related correspondence, including any descriptions of the contents of the productions, or

objections to the government’s requests.

                     The government claims to be confused by the interplay between Rule 16

discovery and Rule 17 subpoenas. The connection is clear. Discovery is material to the defense

if it “will lead the defense to pursue other investigative leads as it readies for trial.” United

States v. Urena, 989 F. Supp. 2d 253, 261 (S.D.N.Y. 2013); see also Stein, 488 F. Supp. 2d at




12
   The government’s production in fact contains one cover letter from the OCC – a letter for a
supplementary production – although the government has apparently withheld the initial
production letter.


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356-57 (information is material if it will play “an important role in uncovering admissible

evidence”). 13 Seeing what the OCC and PTT were asked to produce and what they did or did not

produce in response to those requests, will make it possible for the defense to determine what

additional material may be worth seeking by subpoena or other means as we prepare for trial.

                     The government also misses the point of our citation to United States v. Stein.

Although the particular documents in dispute were case-specific, Judge Kaplan found that the

correspondence and presentations that a third-party provided to the government, and not merely

original source documents, had to be produced if the information in the former would play “an

important role in uncovering admissible evidence, aiding witness preparation, corroborating

testimony, or assisting impeachment or rebuttal.” Stein, 488 F. Supp. 2d at 356-57. Applying

this principle, Judge Kaplan also found that draft sections of a non-prosecution agreement were

material and therefore must be disclosed because “[d]isclosure of the give and take as to what

KPMG was prepared to admit and what the government unsuccessfully sought is likely to shed

light on matters at issue in this case.” Id. at 359. We respectfully submit that the same principle

should apply here.

                     Finally, we note that this is not an instance in which a defendant’s discovery

motion is interposed to harass the government or send it off on a wild goose chase. Our request

is targeted so as to be minimally burdensome on the government. The government undoubtedly

has in its files copies of the subpoenas sent to the OCC and PTT and the responsive

correspondence. Given the limited volume of each party’s production, it seems likely that the



13
   Contrary to the government’s suggestion, demonstrating materiality “is not a heavy burden,”
Stein, 488 F. Supp. 2d at 356 (internal quotation marks and citation omitted), and courts have
found that the government “should interpret the language of Rule 16 broadly to ensure fairness to
the defendant.” Urena, 989 F. Supp. 2d at 261 (internal quotation marks and citation omitted).


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correspondence totals less than 50 pages, and possibly much less than that. The effort the

government has already expended in denying the defense access to this information far exceeds

the likely burden of producing it. If, as the government maintains, the documents are not

material to the defense, they will join the millions of other immaterial documents the government

has voluntarily produced. If, however, they are material, their production is required (and the

defense’s motion will have saved the government from a discovery violation).

IV.         The Touchstone of Rule 21(b) Is Convenience, Which Clearly Favors Transfer In
            This Case

                     The government’s Opposition to our venue motion misconstrues the legal issue

and cites an outdated version of the applicable rule. Under Federal Rule of Criminal Procedure

21(b), the question is what would be the most convenient and economical district for trial. The

answer in this case is clearly the Northern District of Illinois.

                     This case presents a rare confluence of circumstances that weigh strongly in favor

of transfer. First, this is a one-defendant case, where both the defendant and his longtime

counsel throughout the two-year investigation reside in another part of the country. Second, this

is a one-victim case, where the alleged victim, The Federal Savings Bank of Chicago, is

headquartered in the same district as the defendant. Third, that same district is the location of the

large majority of the defendant’s offense conduct and the clear plurality of the likely trial

witnesses. Fourth, and very importantly, this is not a case in which the question of venue was

raised late in the prosecution in an effort to escape a pending trial date or effectuate severance

from a co-defendant. On the contrary, the defense, on behalf of the one and only defendant,

raised the question of venue with the government and then with the Court before any substantive

post-arraignment proceedings had occurred.




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                     In opposing our motion, the government suggests that a defendant must establish

something more than convenience, effectively amounting to prejudice. But the right to a transfer

under Rule 21(b) is explicitly based on convenience, not a showing that venue in the

government’s chosen district is either legally unfounded or prejudicial. See Matter of Balsimo,

68 F.3d 185, 187 (7th Cir. 1995) (granting writ of mandamus where district court required

defendant seeking transfer to show “truly compelling circumstances” and holding that it is

sufficient under Rule 21(b) that the case would be “better off transferred to another district”).

Thus, while the leading decisions on this topic note the “general rule a criminal prosecution

should be retained in the original district” and that the burden is on the defendant to justify

transfer, they also make clear that transfers should be granted when trial in the transferee district

would be “less burdensome.” United States v. Posner, 549 F. Supp. 475, 477 (S.D.N.Y. 1982)

(citing United States v. U.S. Steel Corp., 233 F. Supp. 154, 157 (S.D.N.Y. 1964)). In other

words, Rule 21(b) permits the Court to decide that a trial in the original district would be unduly

burdensome because there is another district where trial, although always a burden on all

concerned, would, on the whole, be more convenient.

                     Significantly, the government relies on the old version of Rule 21(b), which, as

we noted in our opening brief, was amended in 2010 to require consideration of the interests of

the alleged victim. See Fed. R. Crim. P. 21(b), Comm. Notes on Rules—2010 Amend. (2010).

The purported victim in this case is The Federal Savings Bank. It is headquartered in Chicago,

as are the underwriters and the loan committee members who approved the loans in question. As

set forth in the attached declaration of TFSB Executive Vice President and Chief Operating

Officer Daniel Semenak, given the number of potential witnesses who are bank personnel

(including the bank’s president, Javier Ubarri, and the two lead underwriters on the Manafort



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loans, James Brennan and Thomas Horn), a trial in Chicago would be far less disruptive to the

bank’s operations.

                     In this case, the interests of the alleged victim overlap with those of the witnesses,

since many of the witnesses are bank employees or board members whose travel to New York

would create a disruption for the bank. The government, having misquoted the Rule, misses this

point in arguing that the location of witnesses is only relevant if the defense demonstrates that

witnesses will be unable to travel to the government’s preferred venue. Similarly, the

government overstates the point the court in United States v. Spy Factory, Inc., 951 F. Supp. 450,

464 (S.D.N.Y. 1997), was making in its analysis of witness location. The decision in Spy

Factory suggests that transfer might only be required where witnesses were unable to testify in a

given district. The court did not hold that inconvenience to witnesses cannot be considered as a

factor to be weighed, as it routinely is by courts deciding Rule 21(b) motions. See, e.g., Posner,

549 F. Supp. at 477-78 (granting transfer from New York to Miami where “[t]he factor of

location of witnesses strongly favors transfer”); United States v. Layne, No. 05-Cr-87 (HB), 2005

WL 1009765, at *3 (S.D.N.Y. May 2, 2005) (granting transfer where it “appears that fewer

witnesses will be inconvenienced” by a trial in the transferee district). 14



14
   In support of its motion, the government cites cases where the majority of the government’s
witnesses were located in the original district in which the prosecutors filed the case, a factor that
weighed in favor of keeping the case in the original district. See, e.g., United States v. Brooks,
No. 08-Cr-35 (PKL), 2008 WL 2944626, at *2 (S.D.N.Y. July 31, 2008); United States v. Flom,
No. 14-Cr-507 (RRM), 2015 WL 6506628 (E.D.N.Y. Oct. 27, 2015); see also United States v.
Larsen, No. 13-Cr-688 (JMF), 2014 WL 177411 (S.D.N.Y. Jan. 16, 2014) (two of the victims
resided in the district where the case was brought while none appeared to live in or near the
district to which defendant sought to transfer). These cases actually support our motion to
transfer, given that most of the government’s potential witnesses in this case are located in the
Northern District of Illinois. See United States v. Rodriguez, No. 16-Cr-41-FPG-HBS, 2018 WL
2126429, at *4 (W.D.N.Y. May 9, 2018) (“the Court finds that this factor supports transfer based
on the Government’s witness list”).


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                     In its analysis, the government does not accurately define the “location” of events

for purposes of Rule 21(b). The location of events is the place where they happened. In this

case, Mr. Calk is charged with committing a crime by himself. There is no conspiracy charged

and the indictment does not say Mr. Calk acted “together with others,” as indictments often

do. Accordingly, the only alleged criminal conduct in this case is Mr. Calk’s conduct. The

location of that conduct is where Mr. Calk was at the time he engaged in it. The fact that Mr.

Calk, while in Chicago, may have been on the phone or on a video conference with people in

New York does not make the location of that conduct New York. Nor does the fact that Mr.

Calk, while in Chicago, considered loans that involved properties in New York (as well as

California and Virginia) make the location of his conduct anywhere other than Chicago. 15

                     The cases the government cites on this issue do not support its position. In United

States v. Pastore, No. 17-Cr-343 (NSR), 2018 WL 395490, at *4 (S.D.N.Y. Jan. 11, 2018), the

location of the defendant’s crime was clearly New York, even though he committed other acts in

Florida (“[T]he charge against Mr. Pastore is based on his allegedly willful and conscious

decision to withdraw and spend the fraudulently obtained money in this District.”). United

States v. Wilson, No. 01-Cr-53 (DLC), 2001 WL 798018, at *2 (S.D.N.Y. July 13, 2001),

involved a sprawling, multi-defendant, multi-count accounting fraud at a NYSE-listed company

whose board met in New York. In determining that the “location of events” was a neutral factor,

the court observed, “While significant criminal activities are alleged to have occurred in San

Francisco, this was not a crime whose planning, execution, or impact was limited by



15
    The only offense conduct that the indictment alleges took place in New York was an
interview that Mr. Calk attended in Trump Tower in January 2017. (See Ind., ¶¶ 9, 25). The
government in its brief points to a meeting between Mr. Calk and Manafort in New York in
September 2016, but that meeting lacked sufficient significance to be included in the allegations
in the indictment.

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geography.” Id. Thus, the government is unable to find a case in which facts resembling those

present here were found to weigh against transfer.

                     Finally, the government is wrong to imply that a venue’s convenience to the

defendant has relevance only where the defendant is indigent. (Gov’t Br. at 51). For example, it

cites United States v. Riley, 296 F.R.D. 272, 277 (S.D.N.Y. 2014), for the proposition that the

“expense factor [is] generally afforded serious weight only in cases involving indigent

defendants.” But the cited passage is merely the court’s quotation of the government’s

argument. Ultimately, the court found that this convenience factor weighed in favor of transfer

though the defendants had not shown they were financially incapable of funding their defense.

Id. at 277 & n. 4. The question for the Court is whether Chicago or New York is the more or less

burdensome location for trial, not whether Mr. Calk is better able to bear that burden than an

indigent defendant.

                     This is thus a case in which every factor either weighs in favor of transfer or is

neutral. No matter how such factors are weighed relative to each other, the result of the analysis

strongly favors transfer.

                                               CONCLUSION

                     For the foregoing reasons, Mr. Calk respectfully requests that the Court grant his

pretrial motions and motion to transfer venue.


Dated: New York, New York                           Respectfully submitted,
       December 20, 2019
                                                    KRAMER LEVIN NAFTALIS & FRANKEL LLP

                                                    By: /s/ Paul H. Schoeman
                                                        Paul H. Schoeman
                                                        Darren A. LaVerne
                                                        1177 Avenue of the Americas
                                                        New York, NY 10036
                                                        Telephone: 212.715.9100

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                                            LOEB & LOEB LLP

                                                Jeremy Margolis
                                                Joseph J. Duffy
                                                321 N. Clark Street
                                                Chicago, IL 60654
                                                Telephone: 312.464.3100

                                            Attorneys for Defendant Stephen M. Calk




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